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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

FRESNO DIVISION
ln re Case No. '06-10598-B-13
§§1‘§15‘_’§§§§i?§§§§driguez, §§ §§ §FF:§
Debtors. )

 

MEMORANDUM DEClSION REGARDING CREDITOR’S
MOTION TO DISMISS, MOTION FOR RELIEF FROM THE
AUTOMATIC STAY, AND OBJECTION TO EXEMPTIONS
This memorandum decision is not approved for publication and mail not be cited
except when relevant under the doctrine of law of the case or the ru es of res
judicata and claim preclusion.
Ralph Fn`esen, appeared pro Se (“Mr. Friesen”).

Peter_ B. Bunti_ng, Es ., appeared on behalf of the debtors, Aurelio Baraj as and Celia J.
Ramirez Rodriguez (t e ‘ ebtors”).

M. Nelson Enmark, Esq. appeared in his capacity as the chapter 13 tiustee (the "Tiustee").
Before the court are Mr. Friesen’s motion to dismiss (the “Dismissal Motion”)_,

motion for relief from the automatic stay (the “Stay Relief Motion”), and objection to

exemptions (the “Objection to Exemptions”).l l\/Ir. Friesen holds an unsecured claim for

personal injuries sustained in an automobile accident. These matters were argued to the

 

'Mr. Friesen also objected to confinnation of the Debtors’ first modified chapter
13 plan. That plan has been withdrawn and replaced with a second modified plan set for
confirmation hearing on November 16, 2006. The couit will rule separately on Mr.
Friesen’s objection to confirmation of the second modified plan after the hearing.

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court and taken under submission at different times. For the reasons set forth below, the
Dismissal Motion and the Stay Relief Motion will be denied. The Obj ection to
Exemptions will be overruled

The court has jurisdiction over these matters under 28 U.S.C. § 1334 and 11
U.S.C. §§ 109(e), 362 and 522,2 and General Orders 182 and 330 of the U.S. District
Court for the Eastem District of California. These are core proceedings pursuant to 28
U.S.C. § 157(b)(2)(A) & (G). This memorandum decision contains findings of fact and
conclusions of law required by Federal Rule of Bankruptcy Procedure 7052, made
applicable to these contested matters by Federal Rule of Civil Procedure 52.

Eac_t_§

In October 2004, Mr. Friesen was injured in a collision with an automobile driven
by co-debtor Celia Ramirez Rodriguez. ln February 2005, Mr. Friesen filed a civil
lawsuit in Fresno County Superior Court against Mrs. Rodriguez for personal injuries
resulting from the accident (the “State Court Litigation”). Also, in early 2005, the
Debtors refinanced their home with a loan in the amount of $104,000. ln July 2005, the
Debtors recorded a Declaration of Homestead for their home.

Mr. Friesen states in his pleadings that the State C ourt Litigation was set for trial
on May 1, 2006. Debtors filed their petition for chapter 13 relief on May 8, 2006, before
the state court could render a decision in the State Court Litigation. The State Court
Litigation was automatically stayed when the Debtors filed their bankruptcy petition The

section 341(a) meeting of creditors was concluded in June 2006.3

 

2Unless otheiwise indicated, all chapter, section and rule references are to the
Bankiuptcy Code, ll U.S.C. §§ 101-133(), and to the Federal Rules of Bankruptcy
Procedure, Rules 1001-9036, as enacted and promulgated on or after October 17, 2005,
the effective date of The Banl<ruptcy Abuse Prevention and Consumer Protection Act of
2005, Pub. L. 109-8, Apr. 20, 2005, 119 Stat. 23.

3Hereafter, all relevant events occurred in 2006, unless specifically stated
otherwise

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ln their schedules, the Debtors listed secured debts in the amount of $103,040 and
unsecured debts in the amount of $36,935.81. The Debtors listed Mr. Friesen as a
creditor holding an unsecured nonpriority claim in the estimated amount of $25,000 based
on, “Lawsuit against Celia Rodriguez for damages caused in an automobile accident on
10/26/04.” The Debtors’ Schedule F also states the claim to be “unliquidated.” On
June 8, Mr. Friesen filed an unsecured nonpriority claim in the amount of $500,000 (the
“Fn`esen Claim”). Mr. Friesen has not alleged facts to show, nor has he sought a
determination, that the Friesen Claim is not dischargeable in chapter 13 under § 1328.4
This is the second bankruptcy petition filed by the Debtors in the past seven years.
On August 30, 1999, the Debtors filed a petition for chapter 7 relief (case number 99- 7
17784). They received their chapter 7 discharge on December 9, 1999. Under
§ 727(a)(8), they are not eligible to receive another chapter 7 discharge until August 30,
2007.
Issues Presented. _ ,,,
Mr. Friesen has filed several pleadings in the form of motions and objections, with
overlapping issues, which the court addresses herein. Specifically, Mr. Fiiesen moved to
dismiss this case on the grounds, infer alia, that the Debtors are not eligible for chapter 13
relief. Mr. Friesen also contends that the Debtors have acted in bad faith for various '*
reasons discussed herein. Mr. Friesen moved separately for relief from the automatic stay
to complete the State Court Litigation. ln addition, Mr. Friesen objected to the
exemptions claimed by the Debtors. At a hearing on the Stay Relief Motion, the Debtors
indicated that they do not intend to object to the Friesen Claim.
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4Under § l328(a)(4), the court can deny discharge of a claim for “damages
awarded in a civil action . . . as a result of willful or malicious injury by the debtor.”

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Analysis.
Eligibilitv for Chapter 13 Relief under § 109(e).

Mr. Friesen contends that the Debtors are not eligible for chapter 13 relief under
§ 109(e) because his $500,00() claim exceeds the eligibility limit. Section 109(e)
provides: “Only an individual with regular income that owes, on the date of the filing of
the petition, noncontingent, liquidated, unsecured debts of less than $307,675 . . . may be
a debtor under chapter 13 of this title.”

Debtors do not contend that Mr. Friesen’s claim is disputed, contingent or secured.
Debtors listed the claim in their bankruptcy schedules as “unliquidated.” But for the
Friesen Claim, the Debtors appear to be eligible for chapter 13 relief. The issue,
therefore, is whether the Friesen Claim was based on a “liquidated debt” at the
commencement of the bankruptcy case.

ln the Ninth Circuit, a debt is liquidated for purposes of calculating chapter 13
eligibility if the amount of the debt is readily determinable Slack v. Wz`/shi)"e Ins. Co. (In
re Slack), 187 F.3d 1070, 1073-75 (9th Cir.l999) (holding that “a debt is liquidated if the
amount is readily ascertainable, notwithstalzdil-zg the fact that the question of liability has
not been finally decided.” (Emphasis added.) The Slack court follows the decision in 112
re We)zberg, 94 B.R. 631 (9th Cir.BAP 1988) which held, “[t]he definition of ‘ready
determination’ turns on the distinction between a simple hearing to determine the amount
of a certain debt, and an extensive and contested evidentiary hearing in which substantial
evidence may be necessary to establish amounts or liability.” 111 re S/ack, 187 F.3d at
1073-74, (quoting 111 re Wenberg, 94 B.R. at 634).

Mr. Friesen argues that his Claim is liquidated because the Debtors indicated, in
opposition to his Stay Relief Motion, that they do not intend to object to the Friesen
Claim. Mr. Friesen cites to the Black's Law Dictionary, which defines a liquidated debt
as, "[a] debt whose amount has been determined by agreement of the parties or by
operation of law." Mr. Friesen's argument is without merit. First, the offered definition

of "liquidated debt" from Black's Law Dictionary does not fully reflect the Ninth Circuit’s

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definition of "liquidated debt" for purposes of chapter 13 eligibility Second, there is no
authority for the proposition that a failure to object to a proof of claim filed after the
commencement of a bankruptcy deems that claim to have been “liquidated” before the
bankruptcy was filed Presumably, the Debtors were motivated, in pait, to seek
bankruptcy protection to avoid the cost and expense of having to defend the State Court
Litigation. Their decision not to object to the Friesen Claim can be construed as an
economic and strategic decision, not an admission of liability. lndeed, one bankruptcy
court has addressed this precise issue in 111 re Solomon, 166 B.Rf 832, 837~38 (Bankr. D.
l\/ld. 1994):

Section 109(e) requires the determination whether a claim i_s _contin ent or

unliquidated to be made '_'on the date of the filing of the petition." 1 U.S.C. §
_109(e). On the date of filing, the state tort claims had not been reduced to

udginent and Debtor had not admitted an amount was due to the Creditors.
ebt_or's first response to the Creditors' claims was to schedule them in this case as
contingent and unliquidated, as well as disputed

Debtor's pronouncement that he would not object to the Creditors' clain-zs 1'11 this

case, thus allowin them to stand deemed allowed for par Oses of his plan, a'z'a' not

retroactively liquz` ate the claims as of commencement ofihe case. Rather, the
pronouncement constituted a recognition that no interest of Debtor was Served by
objectii_ig. The Creditors would receive all plan a nents, regardless of what was
determined to be the amount of their claims an t e expense of litigation was
likely to exceed what Debtor had concluded he should 11play under his proposed
plan. lt would not improve the _Cre_di_tors' distribution, rther the Debtoi' s fresh

Sta_rt, or be a productive use of judicial resources to require Debtor to pursue an

objection that could n_ot have a _ositive economic im _act on the bankruptcy case,

just for Debtor to avoid loss of ns Chapter 13 eligibi ity.
(Einphasis added.)

The Ninth Circuit Bankiuptcy Appellate Panel (“BAP”) recently wrestled with the
standard for what makes a debt liquidated for purposes of chapter 13 eligibility in 111 re
Gz.zastella, 341 B.R. 908 (9th Cir. BAP 2006). ln that opinion, the debtor had been a
defendant in a state court lawsuit. There had already been a trial on the complaint in that
case and the state court had issued a tentative ruling, holding the debtor liable in an
amount certain. Consequently, the BAP opined, “[t]he ‘extensive and contested
evidentiary hearing in which substantial evidence may be necessary to establish amounts

or liability’ (1n re Slack, 187 F.3d at 1073-74) had already taken place in the State Court.”

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Guastella, 341 B.R. at 917. Therefore, the debt in that case was liquidated

Here, the record fails to show that there has been an evidentiary hearing on the
merits of the Friesen Claim. Mr. Friesen states that there was a trial in the State Court
Litigation on May 1, seven days before commencement of this bankruptcy case, but there
is no evidence in this court’s record of such a tiial, or of the outcome, tentative or
otherwise There is no evidence in the record to establish the amount of the Debtors’
liability other than the Friesen Claim itself. Without admissible evidence in the record,
the actual amount of Mr. Friesen’s damages is not “i'eadily ascertainable.” Tlierefore, the
Friesen Claim is not liquidated and cannot be used in the calculation of chapter 13
eligibility. The court is persuaded that the Debtors are eligible for chapter 13 relief under
§ l()9(e).

Bad Faith.

Mr. Friesen contends that the Debtors filed their bankruptcy petition in bad faith.
Specifically, he argues that the Debtors undervalued their home in their bankruptcy
schedules The Debtors estimate the value of their residence at $170,000 based on
information they obtained from Zillow.com, with an adjustment for “necessaiy i‘epairs.”
Mr. Friesen alleges that, “[a]n audit of this reference . . . reveals the value at $224,147.”
Mr. Friesen also attached a printout of what appears to be an lntemet web page from
Zillow.com as an exhibit to his motion. As owners of their home, the Debtors may state
their opinion of its value under Fed.R.Ev.701. The source of that opinion is not material
to its admissibility As a non-expert third party, Mr. Friesen’s contention regarding the
property’s value must be supported by competent and admissible evidence

The problems with Mr. Friesen’s argument on this point are twofold First, if Mr.
Friesen is offering this as evidence to impeach the Debtors’ opinion regarding the value
of their home, he fails to establish (l) a foundation to show that his inquiry of Zillow.com
is based on the same information, and (2) that the date on which he based his inquiry of
Zillow.coin corresponds with the date of the petition. Second, if l\/Ir. Friesen is offering

the results of his search with Zillow.com to prove that the house is actually worth

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$224,147, then such evidence is inadmissible as both hearsay (FedR.Ev.802) and lacking
any foundation to establish its authenticity and accuracy. (Fed.R.Ev.901(a)). The court
cannot properly consider it.

Mr. Friesen objects to the fact that the Debtors obtained a 2005 income tax refund
in the amount of $1,850 and sold an old automobile for $400 and did not list the
disposition of those monies as “discretionary spending.” Mr. Friesen is essentially
arguing that the Debtors failed to disclose material information in their schedules and that
they have distorted their income for purposes of confirming a chapter 13 plan. The court,
howevei', is unaware of a requirement to disclose such information as “discretionary
spending.” Debtors facing serious financial difficulty commonly have to use available
cash orr hand, such as an income tax refund, in an effort to avoid bankruptcy and to pay
for basic living expenses. This is not per se an improper use of the cash. There is no
evidence as to when they received these monies in relationship to the bankruptcy filing.
The amounts at issue are minimal. The Trustee conducted the 34l(a) and performed his
own investigation of this case, and has raised no issues with regard to the Debtors’
schedules or the use of monies obtained prior to the bankruptcy. Any issues with regard
to the Debtoi's’ actual “disposable incoine” will be considered in relationship to
confirmation of their second modified plan. Mr. Friesen’s argument on this point is not
persuasive as grounds for dismissal.

Mr. Friesen argues for dismissal based on “bad faith” pursuant to § 707(b)(3).
This section applies only to cases in chapter 7 and has no application in this chapter 13.
See this court’s recent ruling in Ki'stler v. C/eve[and (111 re Cleve/ana’) __B.R.__ (2006
W.L. 3030161). 7

ln chapter 13, bad faith is determined by analyzing the “totality of the
cii'cumstances.” Couits consider four principal factors in making this determination The
four factors were set forth in Leavz'tt v. Soto (In re Leavitt), 171 F.3d 1219, 1224-25 (9th
Cir. 1999):

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(l) whether the debtor “misre i'esented facts _in his [petiti_on or] plan, unfairly
manipulated the_Bankruptcy ode, or otherwise [filed] his Chapter 13 [petition or]
plan in an inequitable mannei"’;

(2) “the debtor's history of filings and dismissals”;

(3) whether “tlie debtor only intended to defeat state court litigation”', and

(4) whether egregious behavior is present.

A finding of bad faith does not require fraudulent intent by the debtor.

N]either malice nor actual fraud is required to find a lack of_` ood faith. The
ank_r'uptcy judge is not required to h_ave evidence of debtor il will directed at
creditors1 or that debtor was affir_m_ativel attempting to violate the

law-malfeasance is not a prerequisite to ad fait .

(Citations omitted.)

The court is not persuaded that the Debtors materially misrepresented facts in their
petition or unfairly manipulated the Bankiuptcy Code in filing their petition. There is
nothing in the Debtors’ bankruptcy filing history which indicates abuse. There is no
egregious behavior present.

l\/lr. Friesen contends that the Debtors acted in bad faith by refinancing their home
shortly after the automobile accident and by recording a Declaration of Homestead to
protect their home. Specifically, Mr. Friesen contends that they made a “net profit” of
$88,500 by increasing their residential mortgage from 815,500 to 8104,000. However,
this simple mathematics does not tell the full story and it does not support an inference
that the Debtors have acted iri bad faith or with fraudulent intent for several reasons

First, the court notes that the refinance took place more than one year before the

bankruptcy was filed so the court is not persuaded that the Debtors refinanced their home

to avoid any liability to Mr. Friesen, or in anticipation of filing a bankruptcy petition.5

 

5The court notes for the record that recent conditions in the local housing market
have made residential refinancing and debt consolidation an economically beneficial and
prudent alternative. ln bankiuptcy, mortgage refinancing has become a popular and
common event over the past two yeai's. This court is frequently asked to approve
residential refinance transactions for debtors already in chapter 13 bankruptcy as a means
to pay off their plans.

 

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Second, the Debtors had a right to record a homestead declaration as a matter of law
under Cal.CodeCiv.P. 704.920. Third, Mr. Friesen’s reference to various documents
recorded in connection with the refinance, such as a substitution of trustee, reflects a
general misunderstanding of California’s lien laws. Fourth, there is no evidence in the
record to show that the refinance resulted in any cash being paid to the Debtors, as
opposed to other creditors6

Mr. Friesen references § 548 in support of his argument on this point. That Code
Section dealing with the tiustee’s avoiding powers states in pertinent part:

(a)(l) The trustee may avoid any transfer (includin any transfer to or for the

benefit of an insider under an employment contract of an interest of the debtor in

property, or any obli ation (including any obli ation to or for the benefit of an

insider under an _emp oyinent contract) incurre by the debtor, that was made or
incurred on or within 2 years before the date of the filing of the petition, if the

debtor voluntarily or involuntarily~ f
(A) made such transfer or incurred such obligation with actual intent to
hinder, delay, or defraud any entity to which the debtor was _or became, on
or after th_e date that such transfer was made or such obligation was
incurred, indebted
The first problem with Mr. Friesen’s argument is that § 548 gives the trustee the
power to avoid certain transfers. lt does not apply to other parties in interest ln addition,
in this case, the evidence offered by Mr. Friesen does not show that the Debtors
refinanced their house with the actual intent to hinder, delay, or defraud their creditors.
Acequz'a, 111c. v. Cli'nton (1n re Aceqi.u'a, lnc.), 34 F.3d 800, 805~6 (9th Cir. 1994_). Such a
determination would require an adversary proceeding, which the Trustee has not yet
commenced in this case, Therefore, the court is again, not persuaded that the Debtors

made a fraudulent transfer by refinancing the debts against their home.

Arguably, this court could find that the Debtors filed their chapter 13 petition in

 

6Mr. Friesen lodged an exhibit to his Trial Biief (Exhibit “F”), which appears to be
an unauthenticated first page from the Boirower Final Closing Statement generated at the
conclusion of the refinance. That document shows the payoff of two mortgages totaling
in excess of 836,000 and the payment of at least one creditor in the amount of $3,877.
The Closing Statement does not show that any cash went to the Debtors.

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bad faith if the record showed that they did so solely with the intent to defeat Mr.
Friesen’s remedies in the State Court Litigation. The Ninth Circuit reviewed this issue in
Chinichian v. Campolongo (1n re Chinichian), 784 F.Zd 1440 (9th Cir. 1986). ln that
case, the couit found that the debtors filed for bankruptcy relief for the sole purpose of
rejecting a contract for the sale of their house. Id. at 1445. The buyer of the house had
sued the debtors in the state court for specific performance, and the debtors filed for
chapter 13 bankruptcy relief twice while that case was pending. 1a’. at 1441. In
Chinichian, the debtors’ first chapter 13 case was dismissed because they did not appear
at their § 34l(a) meeting In the second case, the bankruptcy court rejected the debtors’
chapter 13 plan because it was filed for an improper purpose:

After reviewing the Chinichian plan tn toto, the bankruptcy judge concluded that

the real purpotseeie§;hcesp%;iirti ci))\%atshteocclll<:lfetaetr’t’l:re state court litigation and that such

purpose vio a p p

The debtors in this case are not the poor, the op ressed and the unfortunate seeking

a fresh stait. They own a home valued at $l40, 00 which is encumbered for

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financial obligations lnstead, their urpose in-fi in [sic] t is Chapter 13 case is

solely to defeat the pending action or specific per ormance.
1a’. at 1445.

ln Clzinichz°an, the debtors attempted to use the equitable bankruptcy system solely
to frustrate the creditors’ equitable remedies under state law. The facts and circumstances
are different here. There is no evidence that the Debtors filed bankruptcy for the sole
purpose of defeating Mr. Friesen’s legal remedies under state law; specifically, his right
to a claim for damages and personal injury following the automobile accident. The
Debtors elected not to defend the State Court Litigation. The record supports the
conclusion that they filed this bankruptcy petition not to defeat the Friesen Claim, rather
to provide for the Friesen Claim through a chapter 13 plan ~ fairly and equitably to the
extent required by law on equal footing with their other creditors. The Debtors listed Mr.

Friesen in their schedules as an unsecured creditor and are not objecting to his Claim.

The court also notes that if the Debtors are not able to confirm a chapter 13 plan in

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this case, they will be potentially eligible again for a chapter 7 discharge in August 2007.
There is no evidence to suggest that the Friesen Claim would not be dischargeable in a
chapter 7 proceeding. The record shows that the Debtors’ liabilities exceed their assets
The record also suggests that the Debtors are barely able to pay their debts as they come
due and their nonexempt assets total approximately $2,700. The Debtors’ second
modified plan proposes to distribute 5% to unsecured creditors, which, if confirmed, will
pay approximately 825,000 to Mr. Friesen. lt is quite probable that Mr. Friesen will
realize more through the Debtors’ chapter 13 plan than if he pursued the State Court
Litigation, enforced his judgment under state law, and forced the Debtors back into
chapter 7 after August 2007.
Obiection to Exemptions.

l\/lr. Friesen contends that the exemptions claimed by the Debtors were improper
and do not conform to the exemptions allowed under Bankruptcy Code § 522(d).
However, pursuant to § 522(b)(2), the State of Califorrria has opted-out of the federal
bankruptcy exemption scheme prescribed in § 522(d). See Cal.CodeCiv.P. § 703.140(a).
The Debtors’ exemptions are claimed pursuant to the Cal.CodeCiv.P. § 704.010 et seq. rt
The Trustee did not object to their exemptions The court has reviewed the Debtors’
exemptions and they appear to be proper. Therefore, Mr. Friesen’s Objection to
Exeinptions will be overruled
Motion for Relief from Stav.

Mr. Friesen moves for relief from stay to pursue the State Couit Litigation to
completion Section 362(d)(1) allows for relief from the automatic stay imposed by
§ 362(a) for “cause.” “Because there is no clear definition of what constitutes ‘cause’,
discretionary relief from the stay must be determined on a case by case basis”
MacDona/cl v. MacDonala' (111 re MacDona/a’), 755 F.Zd 715, 717 (9th Cir.l985).

In this case, granting relief from stay for Mr. Friesen to pursue the State Couit ,
Litigation would seiye no practical or beneficial purpose. Mr. Friesen filed a proof of

claim for the full amount of his alleged damages The Debtors have not objected to his

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claim and stated on the record that they do not intend to object after their chapter 13 plan
is confimied. Upori inquiry from the court, Mr. Friesen admitted that the trial court has
not yet made even a tentative ruling in the State Court Litigation and that he conceivably
could get nothing if the State Couit Litigation were allowed to proceed There is no
evidence to suggest that Mr. Friesen would receive a judgment iii the State Couit
Litigation, or that such a judgment would exceed the amount of the Friesen Claim which
will be provided for in the Debtors’ chapter 13 plan7

There would be no benefit to Mr. Friesen or the Debtors to return to state couit.
Due to the size of the Friesen Claim in relation to the other scheduled debts, it appears
that Mr. Friesen will receive substantially all of the money distributable through the
chapter 13 plan to unsecured creditors regardless of what his claim may ultimately be
determined to be in the state couit. The cost of having to defend the State Court
Litigation would unquestionably drain cash resources from the estate - cash that could be
used to fund the chapter 13 plan Accordingly, l\/lr'. Friesen has not shown cause for this
court to grant relief fi'om stay to proceed with the State Court Litigation. Mr. Friesen’s
motion for relief from stay will be denied
Miscellaneous Arguments Raised bv Mr. Friesen.

Mr. Friesen argues that the Debtors’s case must be dismissed based on § 523.
Section 523 relates to the dischargeablity of certain kinds of debts Section 523 does not
apply to dismissal. Accordingly, Mr. Friesen’s arguments under § 523 are not applicable
here.

Mr. Friesen argues that, pursuant to § 521(a)(l)(B)(iv), the Debtors were required
to file copies of payment advices received from the Debtoi's’ employer(s) for the 60~day

period before the filing of the petition ln addition, Mr. Friesen argues that § 521(i)(l)

 

7The Debtors have proposed a second modified plan which would pay a 5%
dividend to unsecured creditors Completion of the second modified plan would result in
a payout of approximately $25,000 to Mr. Friesen

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mandates automatic dismissal for failure to provide such payment advices. However,
section 521(a)(l)(B) is qualified by the term “uiiless the court orders otherwise.” ln the
U.S. Bankiuptcy Court for the Eastem District of Califoinia, General Order 05-05
provides that the Debtors’ payroll information shall not be filed with the court, but rather
provided to the trustee not later than seven days before the first date set for the meeting of
creditors The Trustee has stated on the record that he received all of the payroll
information he had requested from the Debtors Therefore, the automatic dismissal
provision of section 521(i)(l) is not applicable in this court with regard to payroll
information and Mr. Friesen’s argument on this point is without merit.

Mr. Friesen argues that, pursuant to §§1307(e) and 1308(a), the Debtors were
required to file proof of tax returns for the four-year period preceding the date of the
petition However, Mr. Friesen misunderstands these sections Section l308(a) requires
the Debtors to file tax returns with “appropriate tax authorities,” not later than the day
before the § 341(a) meeting of creditors The Trustee is authorized to continue the
§ 341(a) meeting to allow the filing of tax returns (§ l308(b)(l)) and § 1307(e) permits
but does not require dismissal if the tax returns are not filed Here, there is no evidence in
the record to show that the Debtors have not filed their state and federal tax returns with
the “tax authorities.” Indeed, Mr. Friesen objected earlier to the fact that the Debtors
have already received and spent their 2005 income tax refund The lnternal Revenue
Service and Franchise Tax Boai'd have not filed proofs of claim for unpaid taxes
Therefore, this argument is based on a misconception and is not valid

Mr. Friesen argues in his Dismissal Motion that the Debtors’ first modified plan
does not utilize all of the Debtors’ “projected disposable income” pursuant to
§ l325(b)(l)(B). This argument really addresses confirmation of the Debtors’ plan and
has no application here. Debtors withdrew their first modified plan and have filed a
second modified plan Mr. Friesen’s objection to confirmation of the second modified
plan will be considered separately The “projected disposable income” test is not grounds

for dismissal of the case.

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Mr. Friesen argues that, pursuant to § 1324(b), the Debtors were required to have a
continued plan within 45 days of the § 34l(a) meeting of creditors Section l324(b) does
not require that a plan be confirmed by such date. Section 1324(b) requires that a hearing
on plan confirmation be held by such date. The § 341 meeting was held on June 13. The
hearing on confirmation of the Debtor’s first modified plan was held 42 days later on July
25. Thei'efore, a hearing on plan confirmation was held within 45 days of the § 341(a)
meeting. Mr. Friesen’s argument is without merit.

Finally, Mr. Friesen makes arguments predicated on §§11¢12(b) and ll41(d)(5)(c)
regarding, inter alia, the Debtors’ alleged failure to carry automobile insurance Such
sections apply only to chapter l 1 cases Therefore, they are not applicable here.
Conclusion.

ln conclusion the court certainly understands Mr. Friesen’s anger and frustration
at having his Claim subjected to the provisions of the Bankiuptcy Code. However, every
honest debtor facing overwhelming economic hardship is entitled to a “fresh start” under
federal law. On the evidence presented, the court is not persuaded that the Debtors have
filed their petition in bad faith, that they have hidden assets, or that they have been
dishonest iri the preparation of their schedules and their claim of exemptions
Accordingly, Mr. Friesen’s Dismissal Motion and his Relief from Stay Motion will be

denied without prejudice Mr. Friesen’s Objection to Exemptions will be overruled

W. _Richard Lee
United States Bankruptcy Judge

Dated: November 9 , 2006

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

SEEATTACHED[JST

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DATED; 11/03/06 By: MM

Deputy Clerk

EDC 3-070 (New 4/21/00)

 

 

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